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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 7

 8   DEBRA TALLEY,

 9                             Plaintiff,                CASE NO. 2:21-cv-00460-RAJ-BAT

10           v.                                          ORDER EXTENDING EXPERT
                                                         DISCLOSURE DEADLINE
11   TARGET CORPORATION,

12                             Defendant.

13          Based on the parties’ Stipulation (Dkt. 14) and for good cause shown, it is ORDERED
14   that the expert disclosure deadline is extended until December 13, 2021.
15          DATED this 6th day of October, 2021.
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17                                                      A
                                                        BRIAN A. TSUCHIDA
18                                                      United States Magistrate Judge

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     ORDER EXTENDING EXPERT
     DISCLOSURE DEADLINE - 1
